Case 2:04-cv-02650-SHl\/|-dkv Document 24 Filed 06/01/05- Page 1 of 2 Page|D 20

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FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUH n | PH w 09

 

 

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CoNNiE FosTER, W-D~ d m' ?‘“`~"‘“’*“
Plaintiff,
VS. NO. 04-2650-Ma/V
JO ANNE B. BARNHART,
Commissioner of Social Security,
Det`endant.
ORDER OF REFERENCE

 

Bei`ore the court is plaintifi` s May 27', 2005 Application for Attorneys Fees pursuant to the
Equal Access to Justice Act (“EAJA”).

The motion is hereby referred to the magistrate judge for a determination Any exceptions
to the magistrate’s report shall be made Within ten (lO) days of the report, setting forth particularly
those portions of the order excepted to and the reasons for the exceptions

1T ls so oRDERED this 15 i'day OrJune, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT .TUDGE

 

Th`:s document entered on the docket,shec;t in cznp!lance
with Ruie 55 and/or 79(3) FHCP on ~ '_)

 

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This notice confirms a copy of the document docketed as number 24 in
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Honorable Sarnuel Mays
US DISTRICT COURT

